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        EXHIBIT A
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                        Electronically FILED by Superior Court of California, County of,Riverside on 12108/2021 05:01 PM
            Case Number VR12105558 0000006001186 -"W. Samuel HarnrickJr., Executive Officer/Clerk ofthe Court By Freddy Roa,'Clerk


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     DEV1N SANTIVANEZ
   6

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   8                   SUPERIOR COURT OF THE STATE OF CALIFORNIA

   9                                            COUNTY OF RIVERSIDE
  10
  11 DEVIN SANTIVANEZ, an individual,                                   CASE No-                     FRI 21 05568
  12                 Plaintiff,                                         COMPLAINT FOR WRONGFUL
                                                                        DISCHARGE;RETALIATION
  13        V.
                                                                        DEMAND FOR JURY TRIAL
  14 ZUMIEZ INC.. AND DOES 1- 25,
     inclusive,
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                                                             COMPLAINT
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   2                                 GENERAL ALLEGATIONS
   3         1.     Plaintiff DEVIN SANTIVANEZ (hereinafter "Plaintiff") is an individual.
   4 Plaintiff was terminated on NOVEMBER 20, 2021.
   5         2.     Defendant ZUMIEZ, INC. is a corporation; (hereinafter "Defendant"), is a
   6 corporation doing business in the County of Riversides, State of California. Said Defendant
   7 was Plaintiff's employer.
   8         3.     Plaintiffis ignorant ofthe true names and capacities ofdefendants sued herein as
   9 DOES 1 through 25,inclusive, and therefore,sues these defendants by such fictitious names.
  10 Plaintiff will amend this Complaint to allege their true names and capacities when ascertained.
  11 Plaintiff is informed and believes, and thereon alleges, that each ofthese fictitiously named
  12 defendants is responsible in some manner for the occurrences herein alleged, and that
  13 Plaintiffs injuries as herein alleged were proximately caused by the aforementioned
  14 defendants.
  15         4.     Defendants and/or each of them are the agents, employees, and each of the
  16 remaining defendants and in doing the things alleged were acting in the course and scope of
  17 such agency and employment.
  18
  19                                 FIRST CAUSE OF ACTION
  20                 (For Wrongful Termination in Violation of Public Policy
  21                       Against all Defendants and Does 1-through 25).
  22         5.     Plaintiffincorporates by reference herein each and every allegation contained in
  23 Paragraphs 1 through 4,inclusive, of this Complaint as iffully set forth herein.
  24         6.     Fundamental public policy of the State of California prohibits the retaliatory
  25 discharge of an employee for refusing and objecting to reasonably believed illegal unsafe
  26 operations or conduct that violates California law(Green v. Ralee Eng. Co.(1998)19 Cal.4th

  27 66,87"[t
           ]  here is no publicpolicy more important or morefinidamental than the onefavoring
  28 the effectiveprotection ofthe lives andproperty ofcitizens.'"). There are fundamental public


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   1 policies that prohibit discharge ofan employee who complains or objects about unsafe work
   2 practices and safety hazards. Every employer has the general obligation under Cal/OSHA to
   3 furnish safe and healthful employment to its employees, and must do everything that is
   4 reasonably necessary to protect employees' safety and health, including using necessary
   5 safeguards and safety devices as well as ensuring the operations of equipment [Lab.C. §§
   6 6300, 6400, 6401,6402,6403,6404; Cal/OSHA General Safety Orders 3203 et seq. 3600 et
   7 seq]
   8          7.     California Labor Code sections 6310 and 1102.5(b)provides important public
   9 policies that protects employers like Defendant from retaliation against employees like
  10 Plaintifffrom adverse employment actions after opposing practices thatthe employee believes
  11 in good faith violates the law.
  12         8.      While employed by Defendant Plaintiff repeatedly objected to management
  13 about employee practices which he reasonably believed were unsafe. These included safety
  14 issues that threatened the health and welfare of the employees of Defendant.
  15         9.      As more fully described above, Plaintiff engaged in a protected activity under
  16 California public policy when he complained about practices that he reasonably believed
  17 violated the laws.
  18          10.    On November 20,2021 after Plaintiffarrived at work he was terminated by his
  19 manager Chris for insubordination. This was pretextual. Plaintiff is informed and believes,
  20 and thereon alleges, that a substantial motivating reason for his termination was in retaliation
  21 for his repeated objections or complaints to management about reasonably believed work
  22 place safety hazards.
  23          11.   As a direct and legal result of Defendants' actions, Plaintiff has suffered, and
  24 continues to suffer damages and losses in earnings and other employment benefits, to his
  25 damages in an amount to be established at trial as well as other special damages resulting from
  26 his termination.
  27         12.    Plaintiff has further suffered mental pain and suffering as well as physical
  28 manifestations thereof, as a result of her wrongful termination.

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    1         13.    As alleged above, Defendants conduct was willful, wanton, malicious,
   2 intentional, oppressive and despicable and was done in willful and conscious disregard ofthe
   3 rights, welfare and safety of Plaintiff, and were done by managerial agents of Defendants,
   4 and/or with the express knowledge, consent, and ratification of managerial employees of
   5 Defendants,therebyjustifying the awarding ofpunitive and exemplary damages in an amount
   6 to be determined at the time of trial.         Terminating Plaintiff based on retaliatmy or
   7 discriminatory intent and then lying aboutit to cover-up the illegal basis is despicable conduct
   8 supporting punitive damages.(Cloud v. Casey(2nd Dist. 1999)76 Ca1.App.4th 895,911-912).
   9
  10                                SECOND CAUSE OF ACTION
  11    (For Retaliation in Violation of Labor Code section 1102.5 Against all Defendants)
  12          14.    Plaintiffincorporates paragraphs 1 through 13 above by reference as though set
  13 forth at length.
  14          15.    Under California-Labor Code § 1102.5(b),an employer may not retaliate against
  15 an employee who discloses information, "to a person with authority over the employee or
  16 another employee who has the authority to investigate, discover, or coned the violation or
  17 noncompliance... if the employee has reasonable cause to believe that the information
  18 discloses a violation ofstate or federal statute, or a violation ofor noncompliance with a local,
  19 state, or federal rule or regulation, regardless of whether disclosing the information is part of
  20 the employee's job duties."
  21          16.    Plaintiff engaged in protected activities as alleged above in paragraphs 6-10
  22 above. At the time Plaintiff made objections to management as noted in paragraphs 6-10.
  23 Plaintiff had reasonable cause to believe that they concerned a violation of State or Federal
  24 laws or regulations. Defendant wrongfully and unlawfully retaliated against Plaintiff by
  25 wrongfully terminating him on November 20, 2021 for pretextual reasons as alleged in
  26 paragraph 1-15 above.
  27          17.    As a direct and legal result of Defendants' actions, Plaintiff has suffered, and
  28 continues to stiffer damages and losses in earnings and other employment benefits and special

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   1 damages in an amount to be established at trial in excess of$25,000.
   2         19.    As a direct and legal result ofDefendants' actions,Plaintiffhas further suffered
   3 mental pain and suffering as well as physical manifestations thereof, in an amount to be
   4 established at trial in excess of$100,000.
   5         20.    As alleged above in paragraphs 6-10, Defendants conduct was willful, wanton,
   6 malicious, intentional, oppressive and despicable and was done in willful and conscious
   7 disregard ofthe rights, welfare and safety ofPlaintiff, and were done by managerial agents of
   8 Defendants, and/or with the express knowledge, consent, and ratification of managerial
   9 employees ofDefendants,therebyjustifying the awarding ofpunitive and exemplary damages
  10 in an amount to be determined at the time oftrial. Terminating Plaintiff based on retaliatory
  11 or discriminatory intent and then lying about it to cover-up the illegal basis is despicable
  12 conduct supporting punitive damages.(Cloud v. Casey(2nd Dist. 1999)76 Cal.App.4th 895,
  13 911-912).
  14
  15         WHEREFORE, plaintiff prays judgment against defendants and each of them, as
  16 follows:
  17         1.     For damages according to proof, including lost earnings and other employee
  18 benefits, past and future;
  19         2.     For interest on lost earnings and benefits at the prevailing legal rate from date of
  20 termination;
  21         3.     For damages for pain and suffering in an amount according to proof;
  22         4.     For.special damages in an amount according to proof;
  23         5.     For punitive damages in an amount according to proof;;
  24         6.     For costs of suit; and
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                                                COMPLAINT
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   1        7.   For such further relief as the court deemsjust and proper.

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   3 DA1ED: December 8, 2021             CALLANAN,ROGERS & DZIDA,LLP
                                         ROBERT HAMPTON ROGERS
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   5

   6                                     By:
                                               Robert Hampton Rogers
   7
                                               Attorneys for PlaintiffDEV1N SANT1VANEZ
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                                           COMPLAINT
